Case 2:85-cv-04544-DMG-AGR Document 547 Filed 05/31/19 Page 1 of 5 Page ID #:26641


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                              UNITED STATES DISTRICT COURT
14
                     CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
15

16   JENNY LISETTE FLORES, et al.,              )   Case No. CV 85-4544 DMG (AGRx)
17                                              )
              Plaintiffs,                       )   APPLICATION FOR LEAVE TO FILE
18   - vs -                                     )   MOTION TO ENFORCE SETTLEMENT AND
19                                              )   EXHIBITS IDENTIFYING CLASS MEMBER
     WILLIAM P. BARR, ATTORNEY GENERAL          )   ASYLUM APPLICANTS AND GOVERNMENT
20   OF THE UNITED STATES, et al.,              )   EMPLOYEES UNDER SEAL; DECLARATION
21                                              )   OF CLASS COUNSEL
              Defendants.                       )
22                                         _    )   [HON. DOLLY M. GEE]
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Case 2:85-cv-04544-DMG-AGR Document 547 Filed 05/31/19 Page 2 of 5 Page ID #:26642


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Case 2:85-cv-04544-DMG-AGR Document 547 Filed 05/31/19 Page 3 of 5 Page ID #:26643


1          This is an application seeking leave to file in the public record the Declarations
2    of asylum seekers, Plaintiffs’ Motion to Enforce, and Memorandum in Support of
3
     Plaintiffs’ Motion to Enforce the Settlement identifying such asylum seekers with
4

5    identifying information redacted so as to protect the identities of applicants for asylum.
6
     Pursuant to 8 C.F.R. §§208.6 and 1208.6 the identities of asylum applicants are
7
     confidential. Defendants have agreed that all filing containing personal identifying
8

9    information regarding class members or their parents may be filed under seal in this
10
     case. Plaintiffs also seek to redact identifying information to protect the identities of
11
     certain Government employees.
12

13         Exhibit declarations have been gathered from class members up to and including
14
     Friday March 29, 2019. See Declaration of Peter Schey filed herewith.
15
           A proposed Order granting this application is lodged herewith.
16

17   Dated: May 31, 2019                     Respectfully submitted,
18
                                             CENTER FOR HUMAN RIGHTS &
19                                           CONSTITUTIONAL LAW
                                             Peter A. Schey
20
                                             Carlos Holguín
21
                                             ORRICK, HERRINGTON & SUTCLIFFE LLP
22                                           Elena García
23
                                             LA RAZA CENTRO LEGAL, INC.
24                                           Michael Sorgen
25
                                             LAW FOUNDATION OF SILICON VALLEY -
26                                           LEGAL ADVOCATES FOR CHILDREN & YOUTH
                                             Jennifer Kelleher Cloyd
27
                                             Katherine H. Manning
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     PLAINTIFFS’ APPLICATION FOR                  1
     LEAVE TO FILE UNDER SEAL                                CV 85-4544-DMG (AGRX)
Case 2:85-cv-04544-DMG-AGR Document 547 Filed 05/31/19 Page 4 of 5 Page ID #:26644


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2                                       NATIONAL CENTER FOR YOUTH LAW
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7                                       Of counsel:

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                                        Virginia Corrigan
9

10
                                        /s/Peter Schey _____________
11
                                        Attorneys for Plaintiffs
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     PLAINTIFFS’ APPLICATION FOR            2
     LEAVE TO FILE UNDER SEAL                         CV 85-4544-DMG (AGRX)
Case 2:85-cv-04544-DMG-AGR Document 547 Filed 05/31/19 Page 5 of 5 Page ID #:26645


1                                    CERTIFICATE OF SERVICE
2          I, Peter Schey, declare and say as follows:
3
           I am over the age of eighteen years of age and am a party to this action. I am
4

5    employed in the County of Los Angeles, State of California. My business address is
6    256 S. Occidental Blvd., Los Angeles, CA 90057, in said county and state.
7
           On May 31, 2019, I electronically filed the following document(s):
8

9       • APPLICATION FOR LEAVE TO FILE MOTION TO ENFORCE SETTLEMENT AND
          EXHIBITS IDENTIFYING CLASS MEMBER ASYLUM APPLICANTS AND GOVERNMENT
10
           EMPLOYEES UNDER SEAL
11
     with the United States District Court, Central District of California by using the
12

13   CM/ECF system. Participants in the case who are registered CM/ECF users will be
14
     served by the CM/ECF system.
15
                                                     /s/Peter Schey
16
                                                     Attorney for Plaintiffs
17

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     PLAINTIFFS’ APPLICATION FOR                 3
     LEAVE TO FILE UNDER SEAL                                 CV 85-4544-DMG (AGRX)
